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               EXHIBIT “A”
                                                    •
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     1
         MJ:TCHELL BEED SUSSl!mN #75107
     2   1053 S. Palm Canyon Dr.                                    ELECTRONICALLY FILED
         Palm Springs, Ca. 92264                                    Superior Court of California.
                                                                        County of Orange
     3   Phone (760) 325 - 7191
                                                                    07/31/2019 at 03:00:03 PM
     4                                                               Clerk of the Superior Court
                                                                    Ill' Brook Israel.Deputy Clerk
     5
         Attorney for Plaintiffs
     6

     7

     8
                                SUPERIOR COURT OF CALIFORNIA
     9
                             COUNTY OF ORANGE,          CEN'l'RAL   BRANCH
    10

    11
         Minoru Imai. , Mari. Imai.,             ) No. 30-2019-01087447-CU-OR-CJC
                                                 )
                                                 )
    12                        Plaintiffs,        )
               vs.                               )
    13
                                                 )    COMPLAINT FOR DAMAGES
    14
         Diamond Resorts Corporation,            )    (l)FRAUD
         Diamond Resorts Rawai.i.                )    (2)INTENTIONAL CONCEALMENT
         Collection, LLC, Diamond                )    (3)RESCISSION
    15
                                                 )
         Resorts Fi.nanci.al Services,                (4)ELDER ABUSE
                                                 )
    16   Inc.,DOES l - 10, i.nclusi.ve;               (5) DECLARATORY RELIEF
                                                 )
                                                 )
    17
                                                 )
    18                       Defendants.         )
                                                 )
                                                      Judge Derek W. Hunt
    19

    20
         _______________                         )
                                                 ))



    21

    22
               Plaintiffs complain and allege as follows:

    23
                                       GENERAL   ALLEGATIONS

    24
            1. Plaintiffs, Minoru Imai. and Mari. Imai. (hereinafter "Imai."),

    25
         husband and wife, are residents of Cypress, California.

    26
           2. Plaintiffs are informed and believe that defendant, Diamond

    27
         Resorts Corporation, is an entity of unknown of origin and the

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                                                 -1-

                                            COMPLAINT
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     1   parent company of defendant, Diamond Resorts Hawaii Collection,
     2   LLC., a Delaware limited liability company and defendant,        Diamond

     3 Resorts Financial Service, Xnc. ( Collectively these defendants
     4   are referred to herein as "Diamond.")
     5     3. Diamond is doing business as a multi        state time-share that
     6 sells" time - share interests" within this judicial district a
     1   dozens of sales locations throughout the state, including
     8   locations in Garden Grove, Dana Point, Capistrano Beach, Palm
     9 Springs, San Francisco and many more.
    10     4. At all relevant times Diamond is a time - share regulated by
    11   the California Department of Real Estate under the authority of
    12   the Vacation Ownership   &   Timeshare Act of 2004 ( hereinafter
    13   "Act") which can be found in California's Business and Professions
    14   Code 11210 et. seq.
    15     5. At all relevant times Diamond operated in the state of
    16   California as vacation ownership program regulated by the Vacation
    11   Ownership and Time - Share Act of 2004 ( hereinafter "Act")
    18   insofar as they offer for lease or sale one of more of the
    19   following products: (a) Time-share plans with at least one
    20   accommodation or component site in California; (b) Time-share
    21   plans without an accommodation or component site in California, if
    22   those time-share plans are sold or offered to be sold to any
    23   individual located within California; (c) an "exchange program" as
    24   more fully defined by Business & Profession Code 11212(1).
    25     6.   In particular Diamond operates a multisite time-share plan
    26   in which the plaintiff purchased points in a multi - state time -
    27   share project which is a      "nonspecific time-share interest," ( as
    28
                                             -2-

                                         COMPLAJ:NT
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     1   more fully defined in California Business and Professions Code
     2   11212 (z) (2) (B)), with the right to use accommodations at more
     3   than one component site created by or acquired through the time-
     4   share plan's reservation system, but including no specific right
     5   to use any particular accommodations.
     6     7. At all relevant times Diamond, as one of the world's largest
     1   time - share companies, has adopted uniform and standardized
     8   practices, procedures, representations and contracts in connection
     9   with its time - share business ( hereinafter "transactions").
    10   These transactions are the basis for this action. Moreover there
    11   are common issues of fact and law common to all Diamond time-share
    12   sales presentations and contracts, including the sales
    13   presentations and contracts that are the subject of this action.
    14     8. Defendants' utilize standard from agreements in connection
    15   with the transactions that are the subject of this action.
    16     9. One of these standardized agreements is referred to by
    17   Diamond as a "Diamond Resorts Hawaii Collection Purchase and
    18   Security Agreement (Hawaii)."     (hereinafter "Purchase & Security
    19   Agreement")
    20     10.     At the same time that a purchaser enters into the
    21   Purchase & Security Agreement, Diamond insists that the purchaser
    22   assign the time-share interest's use rights into a trust in
    23   exchange for "points" redeemable at other locations. The
    24   standardized agreement by which the purchaser assigns his/her
    25   interest in the time-share to the Diamond Resorts International
    26   Club, Inc. known as the "The Club Assignment Agreement." (
    21   hereinafter "Assignment")
    28
                                            -3-

                                         COMPLAINT
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     1     11.     On or about April 5, 2019, at the Modern Honolulu Hotel
     2   located in Honolulu, Hawaii, plaintiffs purchased from defendants'
     3   115,000 points in a multi - state time - share project.
     4     12.     Contemporaneously with the purchase, Diamond induced
     5 plaintiff to assign the right use, occupy and possess the time-
     6 share to Club Diamond pursuant to the Assignment.
     1     13.     The true names and capacities of defendants sued herein
     8   as DOES 1 - 10, inclusive, whether individual, corporate,
     9 partnership, associate or otherwise, are unknown to plaintiffs
    10   and, as such, are sued by fictitious names pursuant to Section 474
    11   of the California Code of Civil Procedure. Plaintiffs are informed
    12   and believes that such fictitiously named defendants are
    13   responsible in some manner for the damages hereinafter alleged.
    14   Plaintiffs will seek leave of court to amend this complaint to
    15   include their true names and capacities when ascertained.
    16

    17                            FIRST CAUSE OF ACTION
    18                    ( Al.l Plaintiffs v. Al.l Defendants)
    19                                   ( FRAUD )

    20     14.     Plaintiffs hereby refer to and incorporates by reference
    21   paragraphs 1 - 15, inclusive, as though the same was more fully
    22   set forth at this point.
    23     15.     On or about April 5, 2019, at the Modern Honolulu.Hotel,
    24   located in Honolulu, Hawaii, the plaintiffs attended a sales
    25   seminar presented by Ryan Gonsalves, which lasted approximately
    26   six or seven hours (hereinafter "time-share presentation").
    27     16.     At the time of the time-share presentation, plaintiffs
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                                         COMPLAINT
Case 8:20-cv-00116-JLS-KES Document 1-2 Filed 10/17/19 Page 6 of 20 Page ID #:16




     1   owned a time-share interest with defendants in Las Vegas which
     2   they had previously purchased and as part of the "US Collection"
     3   of time-shares operated by defendants.
     4     17.     After the time-share presentation, the plaintiffs and
     5   each of them agreed to and did so enter into a series of contracts
     6   with defendants, including but not limited to the Purchase &
     1   Security Agreement,    Assignment and a Credit Sale Contract
     8   Promissory Note of $248,015.00. (hereinafter "time - share
     9   contracts")
    10     18.     Defendants, and each of them, in their desire to sell
    11   time - share interests to the plaintiffs and to in order to induce
    12   the plaintiffs to make the financial investment and enter into the
    13   time - share contracts alleged herein above, falsely and
    14   fraudulently represented to plaintiffs collectively the following:
    15     a. That the time - share interest purchased by the plaintiffs
    16     would appreciate.and increase resale price and value over time.
    11     b. That the time - share interest purchased by the plaintiffs
    18     could be freely exchanged, transferred and sold.
    19     c. That the time - share interest purchased by the plaintiffs
    20     was a financial investment.
    21     d. That the time - share interest purchased by the plaintiffs
    22     would receive booking priority over non - purchasing vacationers
    23     wishing to stay at one or more of the properties owned and/or
    24     maintained by the defendant.
    25     e. That the time - share interest could be rented out and
    26     defendants would assist plaintiffs in renting out their
    27     interest.
    28
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                                        COMPLAIN'l'
Case 8:20-cv-00116-JLS-KES Document 1-2 Filed 10/17/19 Page 7 of 20 Page ID #:17




     1      f. That the maintenance fees more or less remain the same and do
     2     not increase substantially over time.
     3      ( The foregoing six representations are referred to hereinafter
     4     as "standard representations")
     5     19.     Plaintiffs are informed and believe and thereon allege,
     6   that the foregoing standard representations have been adopted as
     7   standard practice and procedure by Diamond throughout the entirety
     8   of its vacation ownership resorts in the United States, Canada,
     9   Mexico, the Caribbean and the South Pacific.
    10     20.     The foregoing standard representations were made
    11   verbally to plaintiffs on Apri1 5, 2019, in Honolulu, Hawaii by
    12   Ryan Gonsa1ves, who. at the time was a licensed real estate broker
    13   authorized by defendants to act as an employee on their behalf.
    14     21.     At no time were the plaintiffs asked if they wished to
    15   have their own real estate broker or attorney review any of the
    16   time - share contracts.
    11     22.     At all relevant times Ryan Gonzsalves was acting as a
    18   dual agent with a fiduciary duty to explain to the plaintiffs the
    19   terms and meaning of the time - share contracts and that the
    20   failure to so inform plaintiffs would amount to constructive
    21   fraud.
    22     23.     At all relevant times Ryan Gonzsalves, acting as a dual
    23   agent acting on behalf of both plaintiff and defendants was duty
    24   bound to act with the utmost good faith for the benefit of the
    25   plaintiffs including but not limited to the duty to disclose all
    26   information relevant to the plaintiffs' decision,       investigate,
    27   disclose and explain to plaintiffs the nature of the agreements
    28
                                            -6-

                                        COMPLADl'l'
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     1   that plaintiffs were executing and the legal consequences thereof.
     2     24.      The true facts were that (a) the time - share interest
     3   purchased by the plaintiffs did not appreciate and increase resale
     4   price and value over time; (b) the time - share interest purchased
     5   by the plaintiffs could not be freely exchanged, transferred and
     6   sold; (c) hhe time - share interest purchased by the plaintiffs
     1   was not a financial investment; (d) the plaintiffs did receive
     8   booking priority of non - purchasing vacationers wishing to stay
     9 at one or more of the properties owned and/or maintained by the
    10   defendant; (d) within the past year the plaintiffs' and each of
    11   them attempted to book a reservation at one or more of the
    12   defendants' properties within this district, including but not
    13   limited to the Palm Springs time - share owned and or managed by
    14   the defendants' and were denied access; (e) the plaintiffs were
    15   not allowed to rent out their Hawaiian time - share interest; (f)
    16   the maintenance fees for the Hawaiian time - share interest do not
    11   remain more or less the same.
    18     25.     In addition to the foregoing standard representations,
    19   defendants, in their desire to sell time - share interests to the
    20   plaintiffs and to in order to induce the plaintiffs to make the
    21   financial investment and enter into the time - share contracts
    22   alleged herein above, also falsely and fraudulently represented to
    23   plaintiffs collectively the following:
    24     a. That defendants would assist plaintiffs in getting their
    25     money back which they had lost based on a bad experience with
    26     their Nevada time-share
    27     b. That defendants were entitled to recover approximately
    28
                                            -7-

                                         COMPLAINT
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     1      $100,000.00 from owners in the US Collection, including
     2     plaintiffs, based on hurricane damage to defendants' properties
     3      in the Caribbean.
     4     c. That the government would come after plaintiffs' family if
     5     they could not pay the $100,000.00 sum being demanded by
     6     defendants.
     7     d .. That by switching to the Hawaiian Collection and purchasing
     8     the time-share that is the subject of this action, plaintiffs
     9     would not have to pay the $100,000.00 sum being demanded by
    10     defendants.
    11     26.     The foregoing representations were made verbally to
    12   plaintiffs on April 5, 2019 in Honolulu, Hawaii by Ryan Gonsalves,
    13   who at the time was authorized by defendants to act as an employee
    14   on their behalf.
    15     27.     The true facts are that (a) the defendants had no desire
    16   to help plaintiffs get any of their money back relating to their
    11   Cancun time - share interest; (b) the defendants were not entitled
    18   to demand $100,000.00 from plaintiffs; (c) the defendants had no
    19   authority to send the government to pursue plaintiffs for the
    20   $100,000.00 sum; (d) switching to the Hawaiian collection was not
    21   necessary to protect the plaintiffs from owing the $100,000.00
    22   sum.
    23     28.     In addition, defendants opened two credits cards in
    24   plaintiffs' name without plaintiffs' knowledge or consent during
    25   the time-share presentation and charged these credit cards a
    26   combined amount of $24,000.00.
    21     29.     Plaintiffs were not made aware of the opening of the
    28
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                                         COMPLAZNT
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      1   credit cards or the charges put on the cards until the end of the
      2   time-share presentation when Ryan Gonsalves informed him that he
      3 had already taken the foregoing actions.
      4     30.     When defendants made these representations they knew
      5   them to be false, and these representations were made by
      6 defendants with the intent to defraud and deceive plaintiffs, with
      7   the intent to induce plaintiffs to act in the manner herein
      e   alleged and enter into the time - share contract.
      9     31.         Plaintiffs were unaware of the falsity of these
     10   representations at the time they representations were made by
     11   defendants, and each of them, and did not discover the falsity of
     12   these representations until May of 2019 when they contacted
     13   defendants by telephone and email and were told by an employee of
     14   defendants named Carmelita that the representations made by
     15   Gonsalves were false.
     16     32.     At the time plaintiffs took the actions herein alleged,
     17   they were ignorant of the falsity of defendant's representations
     1e   and believed·them to be true, inter alia, because Gonsalves
     19   represented himself as a dual agent for both plaintiffs and
     20   defendants'    and defendants' held themselves out as a reputable
     21   company duly licensed by the state of California and with years of
    22    experience in the time - share industry.
    23      33.     As a result of the defendants' fraud and deceit and the
    24    facts herein alleged, plaintiffs agreed to enter into the
    25    aforementioned time - share contracts.
    26      34.     If plaintiffs had been aware of the true facts,
    27    plaintiffs would not have agreed to enter into the time - share
    2B
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                                         COMPLAINT
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      1   contract.
      2       35.     By reason of defendants' actions, plaintiffs have been
      3   damaged in the amount of $408,203.00.
      4

      5                                 SECOND CAUSE OF ACTXON

      6                             (   Against Al.1 Defendants)

      7                         (       :rNTENTZONAL CONCEALMEN'l' )

      8       36.     Plaintiffs hereby refer to and incorporates by reference
      9   paragraphs 1 - 35, inclusive, as though the same was more fully
     10   set forth at this point.
     11       37.     At the time that plaintiffs entered into the time -
     12   share contract defendants', and each of them, intentionally failed
     13   to reveal and disclose and went to great lengths to suppress the
     14   following material information, herein above referred to as
     15   "standard non - disclosures"
     16       (a)     The nature, extent and amount of the annual maintenance
     17   and association dues or any separately billed taxes.
     18       (bl     Defendants' undisclosed intention not to maintain a one
     19   -   to - one, purchaser to accommodation ratio.
    20        ( c)    Defendants' undisclosed intention to hinder, limit and
    21    restrict the sale and transfer of plaintiffs' time - share to a
    22    third party.
    23        (d)     Defendants' undisclosed intention use timeshares
    24    deposited with them for exchange, and rent them to the public
    25    without knowledge or approval of owners.
    26        (el     Defendants' undisclosed intention not to account to
    27    plaintiffs' for the use, occupancy and possession of plaintiffs'
    28
                                                   -10-

                                               COMPLAXNT
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      1   time - share.
      2       38.    The defendants intentionally concealed and failed to
      3   reveal and disclose the foregoing standard non - disclosures to
      4   plaintiffs and said failures to disclose and suppression of
      5   material fact as herein above alleged were made with the intent to
      6   induce plaintiffs to enter into the time - share contract.
      1       39.    Unbeknownst to plaintiffs (a) the nature, extent and
      8   amount of the annual maintenance and association dues were
      9   significantly   more than plaintiffs was led to believe, (b)
     10   defendants' did not maintain a one - to - one, purchaser to
     11   accommodation ratio thereby denying plaintiffs access to the time
     12   -   share, (c) defendant placed unreasonable restrictions on and in
     13   some cases simply refused to permit plaintiffs to transfer or sell
     14   the time - share to a third party, (d) defendants rented time-
     15   shares to the public for defendants own corporate benefit and once
     16   removed from inventory, were no longer available for other owners
     11   to receive in exchange,    (e) defendants' refusal to account to
     18   plaintiffs' for the use, occupancy and possession of plaintiffs'
     19   time - share.
     20       40.    At the time plaintiffs entered into the time - share
     21   contracts, plaintiffs were unaware of the foregoing suppression of
     22   material facts and material non - disclosures. Plaintiffs did not·
     23   discover the falsity of these representation until May of 2019
     24   when they contacted defendants by telephone and email and were
     25   t.old by an employee of defendants named Carmelita that the
     26   representations were false.
     27       41.     Had plaintiffs known of the facts which the defendants
     28
                                             -11-

                                         COMPLAINT
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      1   intentionally failed to disclose, plaintiffs would not have
      2   entered into the time - share contract.
      3       42.     Defendants and Gonsalves in particular had a duty to
      4   disclose the true information on the grounds that defendants' had
      5   unique knowledge of the true facts, the information was material
      6   to the purchase of the time - share interest alleged herein and
      7   that by operation of law a dual agent is required to disclose of
      a   all material facts relevant to the plaintiffs' decision.
      9       43.       Plaintiffs are informed and believe and thereon allege
     10   that these defendant knew or should have known that the true facts
     11   and defendants' true intentions regarding (a) the nature, extent
     12   and amount of the annual maintenance and association dues were
     13   significantly   more than plaintiffs was led to believe, (b)
     14   defendants' did not maintain a one - to - one, purchaser to
     15   accommodation ratio thereby denying plaintiffs access to the time
     16   -   share, (c) defendant placed unreasonable restrictions on and in
     11   some cases simply refused to permit plaintiffs to transfer or sell
     18   the time - share to a third party, (d) defendants rented
     19   timeshares to the public for defendants own corporate benefit and
     20   once removed from inventory, were no longer available for other
     21   owners to receive in exchange,     (e) defendants' refusal to account
     22   to plaintiffs' for the use, occupancy and possession of
     23   plaintiffs' time - share.
     24       44.    By reason of defendants' actions, plaintiffs have been
     25   damaged in the amount of $408,203.00.
     26

     27

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                                         COMPLAZNT
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      l                           'l'R:ClU> CAUSE OF AC'l':CON

      2                                (   RESC:CSS:CON )

      3     45.     Plaintiffs hereby refer to and incorporates by reference
      4   paragraphs 1 - 44, inclusive, as though the same was more fully
      5   set forth at this point.
      6     46.     Plaintiffs intend service of summons of this complaint
      7   to serve as notice of rescission of the aforementioned contract,
      8   and hereby offers to restore all consideration furnished by
      9 defendant under said contract, on the condition that defendant
     10   restore to plaintiff the consideration paid by plaintiff for the
     11   subject property in the sum of $43,635.00, with interest thereon
     12   at the rate of ten percent (10%) per annum from April 5, 2019.
     13

     14                           FOUR'l'R CAUSE OF AC'l':CON

     15                                ( ELDER ABUSE)

     16     47.     Plaintiffs hereby refer to and incorporates by reference
     11   paragraphs 1 - 46, inclusive, as though the same was more fully
     18   set forth at this point.
     19     48.     At all relevant times, plaintiffs were retired and over
     20   the age of 65, were uniquely susceptible to being cheated and were
     21   of unsound mind.
     22     49.     At all relevant times, plaintiffs were elderly people
     23   cheated out of their money or their property who lacked the mental
     24   capacity to understand the nature and extent of their financial
     25   obligations to defendants alleged herein.
    26      50.     At all relevant times, defendants, and each of them,
    27    took, secreted, appropriated, obtained, or retained real or
    28
                                              -13-

                                           COMPLADl'l'
Case 8:20-cv-00116-JLS-KES Document 1-2 Filed 10/17/19 Page 15 of 20 Page ID #:25




     1   personal property of plaintiffs for a wrongful use and with intent
     2   to defraud by use of fraud, misrepresentation and non -
     3   disclosures as herein above alleged.
     4     51.     At all relevant times, defendants, and each of them,
     5   unduly influenced the plaintiffs by means of excessive persuasion
     6   that caused the plaintiffs to act by overcoming plaintiffs' free
     7   will. The undue influence exercised by defendants, and each of
     8   them, resulted in plaintiffs' purchase of the time-share interest
     g   and the damages herein alleged.
    10     52.     Defendants excessive persuasion was manifested in a
    11   number of ways, including the fact that the defendants had
    12   plaintiffs sit for    6 - 7 hours in a time - share presentation.
    13     53.     Additiona~ly, the defendants exercised excessive
    14   persuasion when they fraudulently filled out a credit application
    15   which indicated that the plaintiff were gainfully employed earning
    16   some $185,000.00 per year when in fact they were retired and on a
    17   fixed income.
    18     54.     The defendants further exercised excessive persuasion
    19   and fraud when they caused charges of $24,000.00 to be charged to
    20   credit cards in plaintiffs name without the knowledge or consent
    21   of plaintiffs.
    22     55.     At all relevant times, defendants, and each of them,
    23   were aware of the financial condition of the plaintiffs, their
    24   age, their lack of income and their inability to earn a living
    25   wage. In spite of tnis, defendants filled out a false credit
    26   application indicating that plaintiffs had annual income of
    27   $185,000.00 and were making an additional $10,000.00 per month
    28
                                            -14-

                                         COMPLAINT
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      1   from so - called Japanese investments.
      2     56.       At all relevant times, defendants, and each of them,
      3   knew or should have known that by entered into the time-share
      4   contract herein above alleged, plaintiffs would be depleting their
      5   retirement savings, leaving plaintiffs with little or no assets.
      6     57.       Moreover, at all relevant times, defendants, and each of
      7   them, knew or should have known that by entering into the time-
      s   share contracts plaintiffs would incur ongoing financial
      9   obligations that the plaintiffs would not be able to meet.
     10     58.       Nonetheless, defendants coerced plaintiffs into
     11   executing the time-share contracts resulting in economic changes
     12   in plaintiffs' personal and/or property rights.
     13     59.       At all relevant times, the actions of the defendants,
     14   and each of them, resulted in dire economic consequences to the
     15   plaintiffs and the defendants, and each of them, knew or should
     16   have known that plaintiffs' purchase of the time-share would leave
     11   plaintiffs with little or no funds to care for and support
     18   themselves in retirement.
     19     60.       As herein above alleged, plaintiffs did not discover the
     20   nature and extent of the financial abuse until May of 2019 when
     21   they contacted defendants by telephone and email and were told by
     22   an employee of ~efendants named Carmelita that the representations
     23   made to plaintiffs during the time-share presentation were false
     24   and that defendants would not be helping plaintiffs to get their
     25   money back or get out of their Hawaii Collection time-share
     26   purchase.
    27      61.       On or about July 3, 2019, plaintiffs' counsel wrote a
    28
                                            -15-

                                         COMPLAnr.r
Case 8:20-cv-00116-JLS-KES Document 1-2 Filed 10/17/19 Page 17 of 20 Page ID #:27




      1   letter to Mike Flaskey, CEO of the defendants. In that letter, he
      2   was provided a copy of plaintiffs' complaint along with a request
      3   for a return of money that was taken from them as a result of the
      4   financial elder abuse committed by defendants. Neither he nor any
      5 other person affiliated with defendants has responded to
      6 plaintiffs' requests and defendants have refused and continue to
      7   refuse to refund plaintiffs' money.
      8     62.     Plaintiffs have retained Mitchell Reed Sussman, an
      9   attorney duly licensed by the state of California, and have
     10   incurred reasonable attorney fees, according to proof, but in no
     11   event less than $10,000.00.
     12     63.     In doing the things herein alleged, defendants acted
     13   with oppression, fraud, and malice and plaintiffs are therefore
     14   entitled to punitive damages. Moreover, defendants at all times
     15   knew that plaintiffs were over the age of 65 when they sold the
     16   time-share to plaintiffs and opened the two credit cards in
     17   plaintiffs' names without plaintiffs' knowledge or consent.
     18   Furthermore, defendants were aware at all times that plaintiffs
     19   could never in their lifetime utilize all the points that they had
     20   purchased from defendants, that there was little or no resale
     21   value for the time-share interest purchased and that the purchase
     22   of the time-share interest would put plaintiffs in a dire
     23   financial condition.
     24

     25                               FXF'l'B CAUSE OF ACTXON
     26                           (     Declaratory Relief      )
     27

     28
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      l     64.     Plaintiffs hereby refer to and incorporate by reference
      2   paragraphs 1 - 63, inclusive, as though the same was more fully
      3   set forth at this point.
      4     65.     The plaintiffs are unable to pay on the time - share
      5   they purchased and are in default on the promissory note and
      6   security agreement.
      7     66.     An actual controversy has arisen and now exists between
      8 plaintiffs and defendants in that plaintiffs contend as follows:
      9   a. That the time - share interests sold by the defendants are
     10   "time - share interests" subject to regulation by the California
     11   Department of Real Estate, b. That the anti - deficiency laws of
     12   the state of California apply to the financing agreements executed
     13   by plaintiffs in favor of defendants.
    14      67.     Defendants dispute these contentions and contend that a.
    15    that the time - share interests sold by defendants to plaintiffs
    16    are not subject to regulation by the California Bureau of Real
    17    Estate and; b. that the anti - deficiency laws of the state of
    18    California do not apply to the financing agreements executed by
    19    plaintiffs in favor of defendants.
    20      68.     Plaintiffs desires a judicial determination of the
    21    rights and duties of the parties with respect to the time - shares
    22    sold by defendants to plaintiffs. In particular, the plaintiffs
    23    ask the court to make a declaration as follows: a. That the time -
    24    share interests sold by the defendants are "time - share
    25    interests" subject to regulation by the California Department of
    26    Real Estate, b. That the anti - deficiency laws of the state of
    27    California apply to the financing agreements executed by
    28
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      1   plaintiffs in favor of defendants.
      2     69.        A judicial declaration is necessary and appropriate at
      3   this time in order that parties to the action may ascertain their
      4   rights and personal liability, if any, under the time - share
      5 contracts.
      6

      7


      8       WBEIU:l'OD,    plaintiffs pray judgment against defendants and
      9   each of them as follows:
     10                             ALL CAUSES OF ACTJ:ON

     11           1. For general damages as follows: $ 408,203.00.
     12           2.    For costs of suit herein incurred.
     13           3. For punitive damages.
     14           4. For such other and further relief as is proper and just.
     15

     16                         TBJ:J.U> CAUSE OF ACTJ:ON
     17           1. For a declaration that the time - share contracts are
     18                of no force and effect.
     19

     20                            FOURTH CAUSE OF ACTJ:ON
     21           1. For attorney fees and damages provided for by statute.
     22

     23                             FJ:FTB CAUSE OF ACTJ:ON

     24                1. For a declaration by the court as follows: a. That
     25   the time - share interests sold by the defendants are "time -
     26   share interests" subject to regulation by the California
     27   Department of Real Estate, b. That the anti - deficiency laws of
     28
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      1   the state of California apply to the financing agreements executed
      2   by plaintiffs in favor of defendants.
      3




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      4   Dated: July 31, 2019
      5
                                             f            .     .-
      6                                          Mitchell Reed Sussman
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